USDC SDNY

 

 

UNITED STATES DISTRICT COURT DOCUMENT
SOUTHERN DISTRICT OF NEW YORK ELEC TRONIC ALLY FILED
JASMINE TORO, on behalf of herself and all DOC #: ————
others similarly situated, DATE FILED: _ 3/3/2023
Plaintiff,
-against- 23 Civ. 1722 (AT)
Cake Art, Inc., ORDER
Defendant.

 

 

ANALISA TORRES, District Judge:

To protect the public health, while promoting the “just, speedy, and inexpensive determination
of every action and proceeding,” Fed. R. Civ. P. 1, it is ORDERED pursuant to Rules 30(b)(3) and
30(b)(4) of the Federal Rules of Civil Procedure that all depositions in this action may be taken via
telephone, videoconference, or other remote means. It is further ORDERED pursuant to Rule
30(b)(5) that a deposition will be deemed to have taken place “before an officer appointed or
designated under Rule 28” if such officer attends the deposition using the same remote means used to
connect all other participants, so long as all participants (including the officer) can clearly hear and be
heard by all other participants. The parties are encouraged to engage in discovery through remote
means at every available opportunity.

SO ORDERED.

Dated: March 3, 2023
New York, New York

On

ANALISA TORRES
United States District Judge
